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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                          )
HEALTHY FUTURES OF TEXAS,                 )
individually and on behalf of all other
similarly situated,
                                          )
              Plaintiff,                  )
                                          )
              v.                          )      No. 1:18-cv-992 (KBJ)
                                          )
DEPARTMENT OF HEALTH AND                  )
HUMAN SERVICES, et al.                    )
                                          )
              Defendants.                 )
                                          )

                                          ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is hereby

       ORDERED that [7] Plaintiffs’ motion for summary judgment is GRANTED,

and that [18] Defendants’ cross-motion to dismiss or for summary judgment is

DENIED. It is

       FURTHER ORDERED that HHS’s decision to shorten the project periods for

the class members’ projects under the Teen Pregnancy Prevention program is

VACATED, and that HHS shall accept and process these grantees’ non-competing

continuation applications as if it had not “shorten[ed]” the Plaintiffs’ federal awards .

DATE: June 1, 2018                        Ketanji Brown Jackson
                                          KETANJI BROWN JACKSON
                                          United States District Judge
